7 F.3d 226
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin SLADE, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 93-6690.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 22, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Newport News.
      Calvin Slade, Appellant Pro Se.
      Mark Anthony Exley, OFFICE OF THE UNITED STATES ATTORNEY, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Calvin Slade appeals from the district court's order that dismissed his suit under the Federal Tort Claims Act, 28 U.S.C.A. §§ 2671-2680 (West 1965 &amp; Supp. 1993).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Slade v. United States, No. CA-93-64 (E.D. Va.  May 21, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    